               Case 2:08-cv-01241-JAM-EFB Document 147 Filed 12/02/08 Page 1 of 4


           1   EDMUND G. BROWN JR.
               Attorney General of California
           2   SARA J. DRAKE
               Supervising Deputy Attorney General
           3   WILLIAM L. WILLIAMS, JR.
               Deputy Attorney General
           4   State Bar No. 99581
                1300 I Street, Suite 125
           5    P.O. Box 944255
                Sacramento, CA 94244-2550
           6    Telephone: (916) 324-3725
                Fax: (916) 327-2319
           7    E-mail: Bill.Williams@doj.ca.gov
               Attorneys for Defendants
           8

           9                          IN THE UNITED STATES DISTRICT COURT

          10                        FOR THE EASTERN DISTRICT OF CALIFORNIA

          11

          12

          13
               VIDEO GAMING TECHNOLOGIES,                           2:08-CV-01241-JAM-EFB
          14   INC., dba VGT, Inc., a Tennessee
               Corporation, et al.,                            STIPULATION AND ORDER RE:
          15                                                   MOTION TO AMEND PRELIMINARY
                                                   Plaintiffs, INJUNCTION
          16
                            v.                                      Judge:     Hon. John A. Mendez
          17
                                                                    Date: December 17, 2008
          18   BUREAU OF GAMBLING CONTROL, a                        Time: 9:00 a.m.
               law enforcement division of the California           Dept.: 6
          19   Department of Justice, et al.,
          20                                     Defendants. [Hearing reserved]

          21

          22   CAPITAL BINGO, INC., a California
               corporation, et al.,
          23
               and
          24
               EL CAMINO ATHLETIC BOOSTERS
          25   CLUB, a California non-profit corporation,

          26                                     Intervenors.

          27

          28
                                                                1
                     STIPULATION AND ORDER RE: MOTION TO AMEND PRELIMINARY INJUNCTION (2:08-CV-01241-JAM-EFB)


PDF created with pdfFactory trial version www.pdffactory.com
               Case 2:08-cv-01241-JAM-EFB Document 147 Filed 12/02/08 Page 2 of 4


           1         IT IS HEREBY STIPULATED, by and between plaintiffs, intervenors, and defendants

           2   Bureau of Gambling Control and Mathew J. Campoy (collectively, “Bureau”), through their

           3   respective attorneys of record, that the preliminary injunction issued on June 30, 2008, as

           4   amended on August 25, 2008, which is currently in effect in the above-entitled matter, prohibits

           5   the Bureau “from enforcing in any manner (including, but not limited to, seizing electronic bingo

           6   aids, commencing criminal prosecutions, and halting the play of charitable bingo) the cease-and-

           7   desist orders issued by the Bureau” in regard to the specific bingo establishments cited in the

           8   order granting the preliminary injunction. The parties stipulate that the prohibitory effect of the

           9   preliminary injunction order continues and shall continue to bar the Bureau, and any person
          10   and/or entity acting on behalf of it, from taking any enforcement action in relation to plaintiffs’
          11   and intervenors’ electronic bingo devices at the establishments cited in the subject cease-and-
          12   desist orders, notwithstanding California Senate Bill Number 1369 (“SB 1369”) becoming
          13   effective on January 1, 2009.
          14         The parties further stipulate that the preliminary injunction shall remain in effect until such
          15   time as there is a judicial resolution of the above-entitled matter by the Court of Appeals for the
          16   Ninth Circuit or this District Court that allows the Bureau to proceed with such enforcement
          17   action. Based upon this stipulation, plaintiffs and intervenors withdraw without prejudice their
          18   Motion to Amend Preliminary Injunction in Light of Intervening Change in Law as to the Bureau
          19   only, which motion is scheduled to be heard by this Court on December 17, 2008. This
          20   stipulation does not affect any pending proceedings to enjoin the proposed enforcement of SB

          21   1369 and/or any related ordinance by defendant John C. McGinness. The Motion to Amend shall

          22   remain on calendar as to defendant McGinness.

          23         The parties further stipulate that if the Bureau is permitted to proceed with any enforcement

          24   action as to the electronic bingo machines at issue, plaintiffs and intervenors shall have 15 days

          25   from the date of the judicial resolution of the matter allowing the enforcement action to remove

          26   such machines from their respective places of operation before the Bureau is allowed to seize the

          27   machines.

          28
                                                                 2
                      STIPULATION AND ORDER RE: MOTION TO AMEND PRELIMINARY INJUNCTION (2:08-CV-01241-JAM-EFB)


PDF created with pdfFactory trial version www.pdffactory.com
               Case 2:08-cv-01241-JAM-EFB Document 147 Filed 12/02/08 Page 3 of 4


           1         IT IS FURTHER STIPULATED that, by executing this stipulation, the Bureau is not

           2   waiving its position and any arguments that it may have in either the Court of Appeals or the

           3   District Court that the issuance of the preliminary injunction was in error, nor is the Bureau

           4   waiving its position and any arguments that it may have related to the impact that the enactment

           5   of SB 1369 may have on the legal validity of the District Court’s issuance of the preliminary

           6   injunction.

           7   Dated: November 26, 2008                              NOSSAMAN, GUNTHER, KNOX &
                                                                     ELLIOTT, LLP
           8
                                                                     /S/GEOFFREY A. GOODMAN
           9                                                         _____________________________
                                                                     GEOFFREY A. GOODMAN
          10                                                         Attorneys for Intervenors
          11
               Dated: November 26, 2008                              DLA PIPER LLP (US)
          12
                                                                     /S/ALEXANDER M. MEDINA
          13                                                         _____________________________
                                                                     ALEXANDER M. MEDINA
          14                                                         Attorneys for Plaintiffs
          15
               Dated: November 26, 2008                              LAW OFFICES OF K. GREG PETERSON
          16
                                                                     /S/K. GREG PETERSON
          17                                                         _____________________________
                                                                     K. GREG PETERSON
          18                                                         Attorneys for Intervenors
          19
               Dated: November 26, 2008                              EDMUND G. BROWN JR.
          20                                                         Attorney General
                                                                     SARA J. DRAKE
          21                                                         Supervising Deputy Attorney General
          22                                                         /S/WILLIAM L. WILLIAMS, JR.
                                                                     _____________________________
          23                                                         WILLIAM L. WILLIAMS, JR.
                                                                     DEPUTY ATTORNEY GENERAL
          24                                                         Attorneys for Defendants
          25

          26

          27

          28
                                                                3
                      STIPULATION AND ORDER RE: MOTION TO AMEND PRELIMINARY INJUNCTION (2:08-CV-01241-JAM-EFB)


PDF created with pdfFactory trial version www.pdffactory.com
               Case 2:08-cv-01241-JAM-EFB Document 147 Filed 12/02/08 Page 4 of 4


           1

           2   IT IS SO ORDERED:

           3

           4   Date: December 1, 2008                            /s/ John A. Mendez_______
                                                                 Honorable John A. Mendez
           5                                                     Judge of the District Court
           6

           7

           8

           9
          10

          11

          12

          13

          14

          15

          16

          17

          18

          19
          20

          21

          22

          23

          24

          25

          26

          27

          28
                                                             4
                     STIPULATION AND ORDER RE: MOTION TO AMEND PRELIMINARY INJUNCTION (2:08-CV-01241-JAM-EFB)


PDF created with pdfFactory trial version www.pdffactory.com
